 Case 1:19-cv-21573-NLH-AMD Document 1 Filed 12/18/19 Page 1 of 7 PageID: 1




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

JOHN GIORDANO, JEANETTE
GIORDANO, JAMES GIORDANO, and                     DOCKET NO.: 19 Civ. 21573
JESSICA GIORDANO; KEITH
DALTON and ANN AERTS; CORBY                       CIVIL ACTION
DEESE, JR. and TAMMY O'LEARY;
ARMANDO FERNANDEZ; EDWARD                         NOTICE OF REMOVAL
FRANKLIN, DANA FRANKLIN and
AUSTIN FRANKLIN; MICHAEL                          Removed From:
HARPER, SUSAN KOYE, JENNIFER
HARPER, SAVANNAH HARPER, and                      Superior Court of New Jersey
ELIZABETH HARPER; HELEN                           Gloucester County: Law Division
KAROL; WESLEY KILLE, LESLIE                       Docket No. GLO-L-1368-19
KILLE, GAGE KILLE, LUCIA KILLE
and MALAYNA REISTLE; MICHAEL
LANGE and ANDREW SOLARI; and
JIM REPISARDI; JUSTIN SCHALLER,
JULIE SCHALLER, REBECCA
SCHALLER and JUSTIN SCHALLER,
JR.,

                      Plaintiffs,
       v.

SOLVAY SPECIALTY POLYMERS USA,
LLC, SOLVAY SOLEXIS, INC.;
ARKEMA, INC.; E.I. DUPONT
NEMOURS & COMPANY; DUPONT
SPECIALTY PRODUCTS USA, LLC; THE
CHEMOURS COMPANY; THE CHEMOURS
COMPANY FC, LLC; THE 3M COMPANY;
and ABC CORPORATIONS #l-10,

                      Defendants.



To:   Williams Cedar, LLC
      David M. Cedar, Esq.
      Shauna L. Friedman, Esq.
      8 Kings Highway West, Suite B
      Haddonfield, NJ 08033

      Attorney for Plaintiffs
 Case 1:19-cv-21573-NLH-AMD Document 1 Filed 12/18/19 Page 2 of 7 PageID: 2




       Defendant Solvay Specialty Polymers USA, LLC, successor by merger to Solvay Solexis,

Inc. (collectively, “Solvay”), pursuant to 28 U.S.C. §§ 1441 and 1446, hereby removes the

above-captioned civil action and all claims and causes of action from the Superior Court of New

Jersey, Gloucester County, to the United States District Court for the District of New Jersey.

This action is removable pursuant to 28 U.S.C. § 1332.

                                  GROUNDS FOR REMOVAL

       1.      On November 17, 2019, Plaintiffs John Giordano, Jeanette Giordano, James

Giordano, Jessica Giordano, Keith Dalton, Ann Aerts, Corby Deese Jr., Tammy O'Leary,

Armando Fernandez, Edward Franklin, Dana Franklin, Austin Franklin, Michael Harper, Susan

Koye, Jennifer Harper, Savannah Harper, Elizabeth Harper, Helen Karol, Wesley Kille, Leslie

Kille, Gage Kille, Lucia Kille, Malayna Reistle, Michael Lange, Andrew Solari, Jim Repisardi,

Justin Schaller, Julie Schaller, Rebecca Schaller, and Justin Schaller Jr. (collectively “Plaintiffs”)

filed a complaint (the “Complaint”) in the Superior Court of New Jersey, Gloucester County,

Docket No. GLO-L-1368-19 against Solvay, Arkema, Inc.; E.I. DuPont Nemours & Company;

DuPont Specialty Products USA, LLC; The Chemours Company; The Chemours Company FC,

LLC; The 3M Company; and ABC Corporations #1-10 (collectively, “Defendants”).

       2.      The Complaint alleges that Defendants are responsible for certain contamination

present at Plaintiffs’ properties, including their private water supply wells. The Complaint

further alleges that Defendants are responsible for compensatory and punitive damages,

including medical monitoring and costs incurred and to be incurred by Plaintiffs arising from the

alleged contamination.

       3.      This Notice of Removal is being filed in the United States District Court for the

District of New Jersey within thirty days of Solvay’s receipt of the Complaint and is, therefore,


                                                  2
 Case 1:19-cv-21573-NLH-AMD Document 1 Filed 12/18/19 Page 3 of 7 PageID: 3




timely filed under 28 U.S.C. §§ 1446(a) and (b). Solvay was served with the Complaint on

November 19, 2019.

       4.      Pursuant to 28 U.S.C. § 1332(a), an action is within the original jurisdiction of

this Court if the action is between citizens of different States and the amount in controversy

exceeds the sum or value of $75,000.

                                    Citizenship of the Parties

       5.      The citizenship requirement of 28 U.S.C. § 1332(a) is satisfied.

       6.      In their Complaint, all Plaintiffs identify themselves as citizens of New Jersey.

       7.      Solvay is a limited liability company. The citizenship of a limited liability

company is determined by the citizenship of each of its members. See, e.g., Zambelli Fireworks

Mfg. Co. v. Wood, 592 F.3d 412, 418 (3d Cir. 2010). Solvay’s sole member is Ausimont

Industries Inc. (“Ausimont”), a Delaware corporation. Ausimont is a holding company with no

operations. Its headquarters, president and one of its board members are based in Houston,

Texas. Accordingly, Ausimont’s principal place of business is Houston, Texas. See, e.g., Hertz

Corp. v. Friend, 559 U.S. 77, 92-93 (2010); Johnson v. Smithkline Beecham Corp., 724 F.3d

337, 347 (3d Cir. 2013). Thus, Ausimont is a citizen of Delaware and Texas. Solvay, in turn, is

also a citizen of Delaware and Texas.

       8.      The Complaint identifies Arkema, Inc. as a Pennsylvania corporation with its

principal place of business in Philadelphia, Pennsylvania. Upon information and belief, Arkema,

Inc.’s principal place of business is King of Prussia, Pennsylvania. Arkema, Inc., therefore, is a

Pennsylvania citizen.




                                                 3
 Case 1:19-cv-21573-NLH-AMD Document 1 Filed 12/18/19 Page 4 of 7 PageID: 4




       9.      The Complaint identifies E.I. DuPont Nemours & Company as a Delaware

corporation with its principal place of business located in Wilmington, Delaware. E.I. DuPont

Nemours & Company, therefore, is a Delaware citizen.

       10.     The Complaint identifies DuPont Specialty Products USA, LLC as a Delaware

corporation with its principal place of business located in Wilmington, Delaware. As a limited

liability company, DuPont Specialty Products USA, LLC’s citizenship is determined by the

citizenship of its members. Upon information and belief, DuPont Specialty Products USA

LLC’s members are DuPont Electronics, Inc., DuPont Safety & Construction, Inc., and DuPont

Polymers, Inc., each of which is a Delaware corporation with its principal place of business in

Delaware. DuPont Specialty Products USA, LLC, therefore, also is a citizen of Delaware.

       11.     The Complaint identifies The Chemours Company as a Delaware corporation

with its principal place of business located in Wilmington, Delaware. The Chemours Company,

therefore, is a Delaware citizen.

       12.     The Complaint identifies The Chemours Company FC, LLC as a Delaware

corporation with its principal place of business located in Wilmington, Delaware. As a limited

liability company, The Chemours Company FC, LLC’s citizenship is determined by the

citizenship of its members. Upon information and belief, The Chemours Company FC, LLC’s

sole member is The Chemours Company. As alleged in the Complaint and stated above, The

Chemours Company is a Delaware corporation with its principal place of business in Delaware.

The Chemours Company FC, LLC, therefore, also is a citizen of Delaware.




                                                4
    Case 1:19-cv-21573-NLH-AMD Document 1 Filed 12/18/19 Page 5 of 7 PageID: 5




        13.     The Complaint identifies The 3M Company as a Minnesota corporation with its

principal place of business in Minnesota. Upon information and belief, The 3M Company is a

Delaware corporation. The 3M Company, therefore, is a citizen of Delaware and Minnesota.1

        14.     Accordingly, Plaintiffs are citizens of New Jersey and Defendants are citizens of

Delaware, Texas, Pennsylvania, and Minnesota.

                                       Amount in Controversy

        15.     The amount in controversy requirement of 28 U.S.C. § 1332(a) is also satisfied.

Under 28 U.S.C. § 1332(a), the amount in controversy in a case where federal jurisdiction is

based on diversity of citizenship must exceed $75,000, exclusive of interest and costs. As the

Supreme Court has made clear, “a defendant’s notice of removal need include only a plausible

allegation that the amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee

Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 554 (2014); see also 28 U.S.C. § 1446(c)(2)

(“the notice of removal may assert the amount in controversy”). While Solvay denies that

Plaintiffs are entitled to any monetary or other relief, the amount in controversy here exceeds the

jurisdictional minimum. Moreover, this Court has routinely held that personal injury claims that

are not expressly capped below $75,000 satisfy the amount in controversy requirement for

diversity jurisdiction. See, e.g., Frederico v. Home Depot, 507 F.3d 188, 196 (2007);

Bukowiecki v. Dollar General Store, No. 18-16464, 2019 U.S. Dist. LEXIS 18201 *10 (D.N.J.

Feb. 5, 2019); Briggs v. Target Corp., No. 14-7165, 2015 U.S. Dist. LEXIS 30796 *9-10 (D.N.J.

Mar. 13, 2015).




1
        Defendants ABC Corporations #1-10 are fictitious entities and are disregarded for diversity of
        jurisdiction purposes. 28 U.S.C. § 1441(b)(1).
                                                    5
 Case 1:19-cv-21573-NLH-AMD Document 1 Filed 12/18/19 Page 6 of 7 PageID: 6




        16.     Plaintiffs all seek compensatory damages for bodily injury and property

diminution, punitive damages, attorneys’ fees, and medical monitoring. The Complaint alleges,

inter alia, that “[a]ll Plaintiffs in this action”: are owners of “private wells requiring the

installation of a POET system” to remove per- and polyfluoroalkyl substance contamination

(Compl. ¶ 110); “own and/or reside at properties, which have significantly diminished in value”

(id. ¶ 111); “are at risk for serious physical injuries and diseases” (id. ¶ 113) which “make it

reasonably necessary for Plaintiffs to undergo periodic diagnostic medical examinations” (id.

¶ 114); and “have and will continue to incur substantial costs for bottled water” (id. ¶ 117).

Plaintiffs also seek cleanup and removal costs pursuant to the New Jersey Spill Compensation

and Control Act (id. ¶¶ 150-74) and allege that they “have incurred and will incur in the future

substantial costs related to the restoration of a clean water supply and/or access to an alternate

water source” (id. ¶ 174).

        17.     As this action meets both the citizenship requirement and the amount in

controversy requirement of 28 U.S.C. § 1332(a), this action is properly removed to this Court on

the basis of diversity jurisdiction.

                          OTHER PROCEDURAL REQUIREMENTS

        18.     This Notice of Removal is signed pursuant to Rule 11 of the Federal Rules of

Civil Procedure. See 28 U.S.C. § 1446(a).

        19.     Exhibit 1 contains a copy of all process, pleadings, and orders served upon Solvay

in the state court action. See id.

        20.     Solvay has been informed that all other defendants consent to the removal of this

action to this Court. Pursuant to 28 U.S.C. 1446(b)(2)(A), all other defendants will be filing

evidence of consent directly with the Court within 30 days of their respective dates on which


                                                   6
 Case 1:19-cv-21573-NLH-AMD Document 1 Filed 12/18/19 Page 7 of 7 PageID: 7




they were served with the Complaint. See e.g., Lakatos v. Monmouth County Dep't of Corr., No.

13-5701, 2014 U.S. Dist. LEXIS 9079 *1, *5 (D.N.J. Jan. 24, 2014) (“[defendant] did not sign

the notice of removal. Therefore, [defendant] was required to file a separate written consent to

removal within 30 days of the date he was served”).

       21.     Pursuant to 28 U.S.C. § 1446(d), Solvay is serving written notice of this filing

upon Plaintiffs and will promptly file a copy of this Notice of Removal with the clerk of the

Superior Court of New Jersey, Gloucester County.

       WHEREFORE, this action should proceed in the United States District Court for the

District of New Jersey, as an action appropriately removed.


Dated: December 18, 2019                     LATHAM & WATKINS LLP


                                             By: /s/ Kegan A. Brown
                                             Kegan A. Brown
                                             885 Third Avenue
                                             New York, NY 10022-4834
                                             Tel: 212.906.1200
                                             Fax: 212.751.4864

                                             Attorneys for Defendant Solvay Specialty
                                             Polymers USA, LLC




                                                 7
